                    UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                           1:20-cv-00189-MR

IAIAN EVANS MCCLELLAN,           )
                                 )
              Plaintiff,         )
                                 )
vs.                              )                      ORDER
                                 )
TODD SCHETTER, et al.,           )
                                 )
                                 )
              Defendants.        )
________________________________ )

      THIS MATTER is before the Court on Plaintiff’s “Motion for Default

Judgment” [Doc. 44], which the Court construes as a motion for entry of

default.

      Plaintiff Iaian Evans McClellan (“Plaintiff”) filed this lawsuit on July 10,

2020. [Doc. 1]. On April 27, 2021, Plaintiff’s Third Amended Complaint [Doc.

28] survived initial review as to Plaintiff’s claims against Defendants Todd

Schetter and Caleb Davis for their failure to protect under the Eighth

Amendment. [Doc. 29]. The Court ordered the Clerk of Court to begin the

procedure for waiver of service on these Defendants pursuant to Local Civil

Rule 4.3. [Id. at 13]. For reasons not relevant here, the Court modified its

order to allow service of Defendant Schetter by the U.S. Marshal by

summons. [4/27/2021 Text Order]. A request for waiver of service for


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Defendant Davis was transmitted to the NCDPS on April 27, 2021, making

waiver of service due by June 28, 2021. [Doc. 31]. Defendant Schetter was

served by summons on May 9, 2021. [Doc. 39]. After allowing Defendant

Schetter additional time, Defendant Schetter timely answered the Third

Amended Complaint. [Doc. 42]. On June 28, 2021, Defendant Davis’ waiver

of service was returned executed, making his answer due on August 27,

2021. [See 6/28/2021 Docket Entry]. Defendant Davis, however, has not

answered the Complaint or otherwise defended this action. On November

9, 2021, the Court ordered Plaintiff to take further action to prosecute this

case against Defendant Davis. [Doc. 43].

      Plaintiff timely filed the pending motion, which the Court construes as

a motion for entry of default. [Doc. 44]. As grounds for entry of default,

Plaintiff states that Defendant Davis has not answered or otherwise

defended this action. [Id.]. The Court will grant Plaintiff’s motion and direct

the Clerk to enter default in this matter under Rule 55(a) of the Federal Rules

of Civil Procedure. Plaintiff may now move for default judgment under Rule

55(b)(2).

      Given defense counsel’s history with this Court in failing to abide the

deadlines of the Federal Rules of Civil Procedure and the Court and to

generally manage his cases, the Court will direct the Clerk to send a copy of


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this Order to James Trachtman, Special Deputy Attorney General, who the

Court understands to be defense counsel’s supervisor.

                                  ORDER

     IT IS, THEREFORE, ORDERED that Plaintiff’s motion [Doc. 44] is

GRANTED.

     The Clerk is DIRECTED to enter default in this matter against

Defendant Davis.

     The Clerk is respectfully instructed to email a copy of this Order to

James Trachtman, Special Deputy Attorney General, Section Head, Public

Safety    Section,    North    Carolina       Department       of   Justice   at

jtrachtman@ncdoj.gov.

     IT IS SO ORDERED.
                                    Signed: December 6, 2021




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